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Case 4:03-cv-04146-LLP Docu

Works of art: Jane Fonda's My Life So Far is out toi

By Ragert Ceuach, USATODAY

wrote the autobiography in “layers,” In the balgouna aioe tants iat area Farhan deriv says she

Warhol's images of her,

Fonda's ‘Life So Far’
a newly opened book

Autobiography holds nothing
back on bulimia, Vietnam, Sex

Oe By Donna Freydkin
Cover USATODAY
ATLANTA — This is aot where a movie
stor - star is supposed to live,
The street jane fonda calls home is in
what real estate agen might cail a “tran-
sitianal” neighborhodd. It’s industrial.

Run-down. And right in downtown Atlan-

terre she once shared jat the CNN Center
with ex-husband Ted Turner.

‘To get to Fonda's loft, an open space
filled with white couches, mirumallst ta-
bles, tbeoks and ethhic-looking knick-
knacks, you park on the street, wi
building and rng a buzzer.

After her assistanc answers the door and
then serves water in the living room, Fon-
da emerges from her ‘kitchen, ail layered
hair, perfectly made-tip face and dghtly
tinta:

ayeciqeceas.

to her

ta, a five-minute drive from the pled-d-"

When its suggested that someone of
her stature might be expected to live in
the more posh Buckhead neighberhood or
asuburban gated community, Fonda vehe-
mently shakes her head.

“Oh, nol” she says. “I chase to live here.
This is really great. When | lived in Califor-
nia, I didn't live in Beverly Hills or Bel Air |
lived in Santa Monica before it was chic.”

She says she wanted to be near her
daughter, Vanessa, who lives nearby. And
she chose a grittler area because “] wanted
to make a statement”

Throughout her career, Fonda, 67, has
been all about making statements, some
more well-received than others. Naw she
has mined her fertile history in a candid
memoir, My Life So Far, out today (Random
House, $25.95).

In the book, she discusses momentous
events, inciuding:

» The secret suicide of her mother,
Frances Seymour Fonda, when Fonda was
12. She learned that her mother had kilied
herself from an article in a movie maga~-
zing. “I knew instantly this was the truth,

Please see COVER STORY next page >

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Sel-ft
sensation:
Chosen to
save the
world

in 1968's
Barbarella.

‘The Fonda year's

Dec, 21,1897 Born in New York

TAS Mayes to Paris after

butiv toll Rory oppo~
sie Anthony Berkins
* Marries

Flima MMarceau/Cecinar/Mesa/The KobalCaliection

Marriage 1: In 1956's The Game Is Over

. with Roger Vadim, whom she wed in °65.

Physical speci-

ren: jane Fonda's 3 .
te

came ourln 1943.

By ary Giupdon,
ram erromrap Wido

uPl

‘1965, Playsthe scantily clad lead in
in Toe tee

Marriage 2 With California Assembly-
dng er aneas Bon (See 28 ‘man Tom Hayden and son Troy in 1982.
1900: Portrey: a Depression-era

q ti compettior in
They Shoot Horses, Bont
(nominated far best-actvess Oscar}
1977; Stas 3s prostitute Bree
Dantet in Klie

Mite Asta
War picture scat wonet, here with
Jon Voigl, in 1978's Covzing Home,

War stance: At an anti-aircraft position in No

eth Vietram in 1972. Marriage 3: With TV network owner Ted Tum
Fonda now says she hopes veterans know she wasn't against” them, in. 1991. They would divorce 16-years later

1972: Wins best-actress Oscar for

1979: Stars as 2 Teporter in power-

actress Oscar}
Kure, makes conroversial trip to lant drama The Ching Syndrome =: 1894: Divorced from Hayden;
North Vietnam. frominated for best-actress Oscar) appears in Stanley & Iris, last movie
197% Divorced fron Vadim; mar- 1980: Plays a harried office worker before a 15-year hiatus ftom Holly-
nes anti-war activist Tom Hayden in |$t05 wood
‘while pregnant with paydens son, 1981: Co-stars for the time 1991: Marries Ted Turner
Toy Gary (born July 7 with father Henry in On Golden 1995: Founds the Georgia Cam-
1977 Plays playwright Lilian Hell- Pand (nominated for supporting- palgn for Adolescent Pregnancy -
Tian in futia (nominated forbest- actrets Oscar} evention
actress Oscar) : 82: Releases the frst fane Fondo’ 2001: Granted a divorce from
B78: Stars in the Vietnam drama rkout, which remains thé top- = ‘Tumer
Coming Home . pssing home video . 2005: Stars in the comedy Mon-
1979: Wins second best-actress : Plays an alcoholic in The ster-in-Law with Jennifer Lopez,
‘Oscar, for Coming Home opening May 13

ring After (nominated for best-

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Kids keep her honest:

Continued from 1D

that they Had lied to me about the
heart attack.”

® The bulimia that started while
Fodla was a teenage student at a
boarding schoot in New York. “For
me the disease lasted, in one form
or another, froma sophomore year in
boarding school througl: fwo mar-
Tages and two children, until E was
in my early 40s, My lusbands nev-
er knew, nor did my children or any
of my friends and colleagues,”

> Her sexually experimental re-
lationship with her first husband,
French director Roger Vadim,
which involved threesomes with
other women when they

quit acting. “For all intents and pur-
poses, J had decided to stop acting
and producing by the time | met
‘Ted, butonce 1 corimitted to the pe-
lationship, it became a done deal.
Ted made that abundantly clear”
But alter a 15-year absence from
movies, Fonda is staring in the
comedy Monster-in-Law, opening
May 13. The two-time Oscar wire
her (lute and Coming Home) plays
the consummate controling parent
whose son (Michael Vartan} is en-
gaged to Jennifer Lopez,
Fonda is a small woman with a
big, patrician voice and the flawless
enunciation of a boarding-school
and Vassar student (She dropped
out alter two years.) She's

._ lived in Paris in the early focused and ‘serious but
‘6s. “Sometimes there Cover

also dryly Funny, especial-

were three of us, some- story ly about working with

times more. Sometimes it
was even 1 who did the

» The notorious 1972 trip to
North Vietnam and thé photo of
Fonda sitting on a North Vietnam-
ese anti-aircraft gun, which she
calls her “two-minute lapse of san-
ity” Fonda writes that the “buck
stops here. If] was used, ] allowed it
to happen. It was my mistake, and |
have paid and continue to pay a
heavy price for it.”

» Her marriage to TV mogul
‘Turner and her subsequent retire-
ment from the big screen. Turner
warted Fonda by his side, true, but
she writes that she was ready to

Lopez,

I normally would nev-
ér wear velour or whatever this is
called,” Fonda says, pointing to ihe
baby-blue sweatsuit she's wearing.
Lopez “makes these things, and
they're so comfortable. She's
helped me t hip.”

Even before it hit stores, her
memoir made waves with inaccu-
fate feaks about her marriage to Va-
dim reported by the British tab-
loids. Fonda welcomes the
spol afer peing put of the
Spotlight for so long, “I'm ready”
she says. "My loins are girded.”

The actress, who has appeared in
more than 40 films, strived to make

her book as honest as possible. “!
knew it would just be another ce-
lebrity bio #1 dint re; 0 to the
why and the how | really it. And
that's what allowed me to pot
blame anyone and to assume te-
sponsibility. f write in layers. Tis is
what [did. And then a few days lat-
ey, this is what] really did.”

Writing, and crying

Fonda says she went through a
six-month period of writers block
in the five years she devoted Lo her
memaic “I spent a lot of time hy
Mmyselfat my ranch in New Mexica,
There were certain things, like
writing about my mother, where
Cd find myself really really cold,
shaking. teeth chattering. There
were times 7d be writing, and I'd
be crying. | knew I wanted to start
the book the year my mother died
(1950), and I Knew I wanted it to be
veiy, very specific,”

Her children, Vanessa, 36 (with
Vadim) and Troy, 31 (with second
husband Tom Hayden) read the
book as she went along, as did Hay-
den and Turner Her kids in partic
ular “were really, feally helpful in
making me go deeper, always
pushing me. told me that you
can't take for granted that people
will imderstand why you loved
{the men you married i

She writes that Vadim, who di-
rected her in the 1968 camp classic
Sarbarefia, was magnetic, intelli-

gent and a loving father to Vanessa,
New a mother of two. “Il cduld write
him as a wastrel and a misogynist
oF a charming, imaginative, won-
derful gay, ane both would be true.
He was a very interesting mau, [
dor't regret it for a minute."

“What would Vadim, who died. in

2000, think of her boak?
“| think he'd say | was a gnod
writer All three of my husbands
should feel, would feel, that ] am
fair. | wrote my marviages, all three
of which were very, very important
fo me, in a way that makes it clear
why | fell in fave and why they had
fo end. Sometimes it was my
choice, Sometimes it was his
choice. Sometimes it was mutual.

“But | alsa think f made it clear
thaf in each instance, ! was starting
down a particular fat in my
Search for myself aud met a man
who could take me further down
that path. Mone of my hushands
were the Svengali the way sume
people think.”

She's still Friends with Hayden
and Turner, and she talks to Tumer
several tities a week since heir di-
vorce in May 2001. In fact, "I iad a
sleepover with one of his grand-
Sons,” she says,

In her book, she describes her
first sexual enounter with Turner as
being like “Versailles with all the
spectacular jit-up fountains.”
What's perhaps mast sizikin
about her memoir is its lack of set
pity. Fhe actress goes to fengehs ta

countable for her more controver-
sial choices, most notably ber 1972
visil to North Vietnam,

Absut that photograph
Fonda writes that she regrets

~ “being photographed laughing on a

North Vietnamese anti-aircraft gun
in the notoriaus photo that helped
her be branded Hanoi Jane. She says
she hopes “that some veterans,
when they realize all the work rye
Gone with Gls, know that 1 wasn't
against the soldiers. | hope that
comes actos,"

She also realizes that Gen-Xers
might know the seven-time Acad-
emy Award nominee best as the
Jeotard-wearing June Fonda Work-
ouf QUEER oF as a foxy woman from
the future who floats in her fur
lined spaceship.

“In some sense It be remem-
bered for Barbaretta, That’s fine T
think my best performance was in
Klute. That was my breakthrough
Movie, On Golden Pond was an
experience that people can only
dream of, How lucky to have pro-
duced a movie and acted in it with
my Ether before he died?"

Hency Fonda was distant and
cok& And Fonda concedes that
when daughter Vanessa was born in
September 1968, she was no Moth-
er of the Year. “I didn't really know
hew to be a parent. fm trying to
nuke that up.to her now."

‘Monster’ keeps her working

Her relationship with Vanessa is
“a wark in progress. It's never too
fale, ... Learn a jot from watching
hee When she tells me things about
mayself, | always have to pay atten-
Hon, although it may make me mad
at first, because there’s always a
kernel of truth in it. I'm in awe of
how she is asa mother.”

Fonda says she’s comfortable
with petting older “I'm workir
hard on nat having regrets, Should
ever again be in a relationship with
a man, | think it will be very differ-
ent. But that’s theoretical ... My
relationship with inyself and my
friends and my children and my
prandchitdren is different because

'm bringing my whole self te it.”

A self that got to throw punches,
in Monster-in-Law, Being back on a)
movie set again was “so much fut,
There was ro stress, And my salary
went into the work I'm doing here
in Georgia,”

That would be heading the Geor-
gia Campaign for Adolescent Preg-
nancy Prevention, which she
founded in 1995,

And when her publicity blitz is
over, Fonda will have hip-reptace-
athe a . yo

“The old joints are going, But I
feel fing," she says,

Besides, she jokes, after all those
book promotion interviews, “Til be
50 ready fo be put to steep!“

Here comes that wicked laugh

ait. “They shaor horses, don't

ey?" she says with a wink,
